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                   Exhibit C
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                                                               U.S. Department of Homeland
                                                               Security
                                                               DHS Traveler Redress Inquiry
                                                               Program (DHS TRIP)
                                                               601 South 12th Street, TSA-901
                                                               Arlington, VA 22202-4220


                                                          -         1   Homt;land
January 28, 2015
                                                           99 Security
Mr. William J. Genego
Law Office of William Genego
2115 Main Street
Santa Monica, CA 90405

RE:    Stephen Durga Persaud
       Redress Control Number: 2102070

Dear Mr. Genego:

The Department of Homeland Security Traveler Redress Inquiry Program (DHS TRIP) received
your response of January 5, 2015, providing the reasons supporting your client's belief that his
placement on the No Fly List was in error. DHS TRIP provided your submission to the
Transportation Security Administration (TSA) for review. Attached, please find a TSA
determination regarding your client's redress inquiry.

Sincerely,

-v~
Deborah Moore
                      u. "Acn:rJ--
Director, DHS Traveler Redress Inquiry Program




                                                                                www.dhs.gov/trip
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                                                                                 Office of the Administrator

                                                                      U.S. Department of Homeland Security
                                                                                        601 Sout h 12'h Street
                                                                                   Arlington, VA 20598-6001


                                                                                Transportation
                                                                                Security
                                                                                Administration

                                   DECISION AND ORDER

       On January 5, 2015, Stephen Durga Persaud, through his counsel, submitted a response to

the Department of Homeland Security Traveler Redress Inquiry Program (DHS TRIP) providing

reasons why he believed his placement on the No Fly List was in error and requesting his

removal from that List. For the reasons set forth below, I determine that Mr. Persaud should

remain on the No Fly List.

       On June 14, 2010, Mr. Persaud submitted an inquiry to DHS TRIP describing his travel

difficulties. On October 14, 2010, DHS TRIP informed Mr. Persaud it had conducted a review

of his records and determined that no changes were warranted at that time. On November 24,

2014, DHS TRIP informed Mr. Persaud that it was reevaluating his redress inquiry. DHS TRIP

informed Mr. Persaud that he was on the No Fly List because he had been identified as an

individual who "may be a threat to civil aviation or national security." 49 U.S.C. § 114(h)(3)(A).

In particular, it had been determined that he was an individual who represents a threat of

engaging in or conducting a violent act of terrorism and who was operationally capable of doing

so.

       In addition, DHS TRIP provided Mr. Persaud with a summary of the unclassified facts

available for release that supported his placement on the No Fly List and encouraged him to

respond with relevant information ifhe believed the determination was in error or if he felt the

information provided to him was inaccurate. DHS TRIP withheld certain information because

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additional disclosure would risk harm to national security and jeopardize law enforcement

activities. On January 5, 2015, Mr. Persaud, through his counsel, responded that he believed his

placement on the No Fly List was not warranted and provided representations he believed to be

relevant to DHS TRIP's determination. Mr. Persaud did not submit any evidence in support of

any of these representations.

       Upon review of all of the information Mr. Persaud has submitted to DHS TRIP, as well

as other information available to me related to Mr. Persaud's placement on the No Fly List, I find

that Mr. Persaud may be a threat to civil aviation or national security; in particular, I find that he

is an individual who represents a threat of engaging in or conducting a violent act of terrorism

and who is operationally capable of doing so. I therefore conclude that Mr. Persaud is properly

placed on the No Fly List and no change in status is warranted.

        Consistent with the protection of national security and law enforcement activities, I can

provide the following explanation of my decision:

    1. I have considered Mr. Persaud's contention that he "does not pose, and has never posed, a

       threat of committing any act of violence." I conclude, however, that the information

       available to me, including Mr. Persaud's statements to the FBI, supports Mr. Persaud's

       placement on the No Fly List.

    2. I have also considered Mr. Persaud's contentions that he does not advocate violence, that

       he did not travel to Somalia to engage in violent unlawful activity, and that he does not

       knowingly have ties to terrorist organizations or individual terrorists. I conclude,

       however, that the information available to me supports Mr. Persaud's placement on the

       No Fly List.




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These conclusions do not constitute the entire basis of my decision, but I am unable to provide

additional information. Without specifying all possible grounds for withholding information in

this case, information has been withheld for the following particular reasons:

   •    additional disclosure would risk harm to national security;

   •    additional disclosure would jeopardize law enforcement activities; and

   •    disclosure of name(s) of individuals referred to in the letter of November 24, 2014, would

         implicate third-party privacy concerns.

        No Fly List determinations, including this one, are not based solely on the exercise of

Constitutionally protected activities, such as the exercise of protected First Amendment activity.

         This determination constitutes a final order and is reviewable in a United States Court of

Appeals pursuant to 49 U.S.C. § 46110 or as otherwise appropriate by law. A petition for review

must be filed within 60 days of issuance ofthis order.



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DATED
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                                               ~~
                                               Acting Administrator
                                               Transportation Security Administration




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